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OF (CMTieeal Fiori The Late

UNITED STATES BANKRUPTCY COURT

Eastern District of New York

In re, Payvand Hakimian : Case No, 10-70336

Debtor Hil knee)

 

STATEMENT OF FINANCIAL AFFAIRS

This slatenment is to he completed by every debtor, Spouses filing a joint petition may file a single statement on which
the information for both spouses is combined, (the case is fled under chapter 12 or chapter 13. a married debtor must furnish
information for both spouses whether or neta joint petition ts Hhedl unless the spouses are separated and a joint petilian is nat
filed. An individual debtor engaged in business as a sole proprietor. partner. family farmer, or sell-employed professional,
should provide the information requested on Uhis statement! concerning all such activities as well as the individual's personal
allairs. ‘To indicate payments, transfers and the like ta miner children, state the child's initials and the name and address of the
child's parent or guardian, such as "ALG. a miner child, by John Doo, guardian.” Do not disclose the child's name. See. PP USC,
$112 and Fed. &. Bankr, Po 100 mip,

Questions | - 18 are to be completed by all debtors. Debtors that an or have been in business. as delined below, also
must complete Questions 19-25. [othe answer ta an applicable question is "Sone," mark the box labeled “None.” If
additional space is needed for the answer to any question, ase and altach a separate sheet properly identified with the cose name,
ease number (i knew and the normber of ihe question,

AEN EEN

"he ftiness.” A debtor is "in business" far the purpose ef this form ifthe debtor is a corporation or partnership, An
individual debtor is "in business" for the purpose ol this form if the debtor is ar has been, within six years immediately preceding
the Cling of this bankruptcy case. any ol the fallowing: an aller. director, manyging execculive. ar owner ofS percent or more
of the voting or equity securities ofa corporution: a pariner, other than a limited partner. ala partnership: a sole proprietor or
self-employed full-time or part-time, An individual debtor also my be “in business” for the purpose ofthis form iP the debtor
engages ina trade, business, or other activity. other than as an emplovee, to supplement income Irom the debtor's primary
employment

“asides” The term “insider” includes but is not limited to: relatives of the debtor: general partners af the debtor and
their relatives: corporations af whieh the debtor is an oflicer. director. or persen in conteal: offivers, directors, and any owner of
5 percent or more of ihe voting or equity securities af a corporate debtor and their relalives: affiliates of the debtor and insiders
of such aliliates: any managing agent ofthe debtor, PPS. § Lor.

1. Income from employment or operation of business

New State the aross amount of ineeme the debtor hus received Crom employment. trade. or profession. or fram operation of
the debtor's business, including part-time activities cither as an employee or in independent trade or business. from the
beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
two years immediately preceding this calendar yeur, (A debtor that maintains. or has maintained, finanetil reeords on
the basis ofa tiseal rather than a calendar sear may report fiscal year inceme. klenwly the beginning and ending dates
atthe deblor's fiseal year.) (a joint petition is filed, state ingeme for cach spouse separately. (Married debtors Gling
under chapter 12 or chapter 13 must stale income of beth spouses whether or net a joint petition is filed, unless the
spouses are separated and a point petition is net flee.)

AMOUNT SOURCE:
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None

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2, Income other than from employment or operation of business

State the amount of income received by the debtor other than from employment. trade, profession, operation af the
debtor's business during the twa years immediately preceding the commencement of his case. Give particulars. [ha
joint petition is Thal, stale income for each spouse separately. (Married debtors filing under chapter (2 or chapter 13
must slate income for cach spouse whether er nota joint petition is fled, untess the spouses ane separated and a joint
petition os mot filed.)

AMOLINTT SOURCE

3. Payments to creditors
Complete a. orb, ax appropriate, ante ec

a tadividien! or foi dedtorn vein) pelneeity couvmer dediy: List all paynvents on loans. installment purchases of
goods or serviews. ad other dehis to any creditor made within 90 days immediately preceding Lhe commencement al
this case unless the aggregate value of all property that conslitutes or is affected by such transfer is less than S600,
Indicate with an asterisk (+) any payenents dhat were made te a creditor on account ala dontestic suppor obligation or
as paral an allemalive copayment schedule under a plan by an approved nonprofit budgeting and eredit counseling
agency. (Married debtors Hling under chapter 12 or chapter 13 must include payments by either or both spouses
whether or eta joint petition is fled, unless the spouses are separated and a jaint petition is met Che.)

    

NAME AND ADDRESS OF CREDIPOR DATES OF AMOLIN'! AMOUNT
PAYMENTS PAI STILL OWING

& Debtor whose defies cme cet prieccriiy conver eebiss Fit cech peeve! or other inansier te conv creditar made
within 90 days immediately preceding Ihe commencentent of the case unless the agereaate value of all property that
qunslitules or is afiegied by such transier is bess thon 83.475, (the debtor is an individual, indicate with an asterisk (°)
any payments that were male bow crdiloron account of aaorestic support oblipation or as pert ofan alternative
repayment schedule under a plan by an approved nonprofit budeeing and credil counseling aveney. (Married debtors
fling under chapter 12 or chapter 13 must include payments and edher iransfers by cilher or both spouses whether ar
mol a join petilion is lied. unless the spouses ure seporaiad and a juiml petition is met hed)

NAME AND ADDRESS OF CREDITOR DATES OF AMOUIN'E AMOUNT
PAYMENTS! PAT OR STILL
TRANSFERS VALUE OF OWING

PRANSFERS
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al ce. Ai debtors: List all payments made within ene year immediately preceding the commencement ol ihis case
to or for the benefit of creditors vweho are or were insiders, (Married debtors filing under chapter [2 or chapter 13 must
include payments by either or both spouses whether ar not a joint petition is filed, unless the spouses are separated und
a joint petition is net Mle.)
NAME AND ADDRESS OF CREDPPOR TAGE CH AMOUNT AMOUNT
AND RELATIONSHIP POF DEE POR PAYMENT AID STILL OWING
4. Suits and administrative proceedings, evecutions, garnishments and attachments
Moe a. List all suits und administrative proceedings towhieh the debtor is ar was a party within ome year immediately
oO preceding the fling of this bankruptey ease. (Married debtors filing under chapter 12 ar chapler 13 must include
information concerning either or both spouses whether or net a joint petition is fled. unless the spouses ane separate
and a joint petition is mot Fle)
CAPTION OF SUPT COURT OR AGENCY STATUS OR
AND CASE NUMBER NATURE OF PROCEEDING AND LOCATION DISPOSTTION
IRS, NYS Tax & Fin, Capital Litigation nassau unknown
one
Moc b. Deseribe all property that has been attached, parnished or seized under aay legal or equitable process willin one
year immediately preceding the commencement of this case. (Married debtors Gling under chapter 12 or chapter 13
must inclide inlorinalion concerning property of either or both spouses whether or meta joint petition is Hhed. unless
the spouses are separated and a point petition is rol led)
NAME AND ADDRESS DESCRIPTION
OF PERSON FOR WHOSE DATE OF AND VALUE
BENEFIT PROPERTY WAS SEIZE SLAW RE: OF PROPERTY
S. Repossessions, foreclosures and returns
Nowe List all property dhat hus been repossessed by a creditor, sold ala foreclosure sale. translerred through a deed in lieu
Wl of foreclosure ot retuned to ihe seller, within ane year immediately preceding the crmmencement of this cise,

(Married debtors (ing wider chapter 12 or chapter 13 must include ialormation concerning property ol cither or beth
spouses whether or neta jeint petition is Ghee. unless the spouses aire separated anal a joint petition is met hed)

DATE OF REPOSSESSION, DESCRIPTION
NAME AND ADDRESS FORECLOSURE SALE, AND VALUE
OF CREDITOR OR SELLER TRANSFER OR RE TERN OF PROPERTY
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6, Assignments and receiverships

a. Describe any assignment of property fer the benefit of crediters made within 120 days immediately preceding the
commencement of this case, (Married debtors filing under chapter 12 or chapter 13 musi include any assignment by
either or boty spouses whether or nol a joint petition is fled unless the speuses are separated and a joint petition is nat
filed.)

TERMS OF
NAME AND ADDELAS DATE OF ASSIONMENT
OF ASSIONEE ASSIONMLENT Ok SETTLEMENT

b. List all property whieh has been in the hands of acustodian, receiver. ar court-appointed official within owe year
immediately preeeding the commencement of this case, (Married ulchtors filing under chapter (2 or chapter 14 must
include information concerning property of either ar both spouses whether or naka joint petition is Gled, unless dhe
spouses une sepuratca amd a paint petition is ned filed

BUARTE ASDA PO DESCRIPTION
NAME AND ADDRESS OF COMRT DATE OF AND VALUE
OF CUS TODLAN CASH FUTLE & NUMBER ORDER CF PROPERTY

7. Gifts.

List all pills or charitable contributions make wiihin one year innmediately preceding the commencentent of this case
exceplondinary andl usual 2ilis to iuvily members agercguling less dean $200 tn value per individual family member
an charitable contributions agerceating fess than SUK) per recipient, (Marricd debtors (ling under chapter 12 or
chapter 13 must inchide pills or contributions by cilher or both spouses whellier or nota joint petilion is fileL unless
Ihe speuises are separited anal a jpoind petitions is mot Ghed}

NAME AND ADDRESS RELATIONSIUP DESCRIPTION
Ob PERSON TO DEBTOR. LEAT: AND VALUE
OR ORGANIZATION IP ANY On GIP OF GIFT

S. Lowes

List all losses trom fire, thefl, olher casually or gambling within ome year immediately preecding the commencement
of this case or since the commencement of this case. (Married debtors liling under chapter 12 ar chapter 13 must
include losses by either or bath spouses whether or net a joie petition is filed. unkess the spouses are separated and a
joint petition is mot liked)

DESCRIPTION RSC RIP TON OF CIRCUMSTANCES AND. IF
AND VALU: OF LOSS WAS COVERED IN WHOLE OR IN PART BATE
PROPERTY BY INSURANCE. GIVE PARTICULARS Ol LOSS
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% Payments related to debi counseling or bankruptey

List all payments made or property ininslerred by or on behal Pot ihe debtor to any persans. including attorneys, lor
consultation concerning debt conselidation, relieF under the bankcuptey law or preparation ofa petition in bankruptey
within one year immediutely preceding the commencement of this case.

DATE OF PAYMENT, AMOUNT OF MONEY OR
NAME AND ADDRESS NAME OF PAYER IF DESCRIPTION AND
OF PAYED OVHER THAN DEBTOR VALUE OF PROPERTY

 

10. Other transfers

a, List all other property. other than property translérred in the ordinary course of the business or financtal affairs of
the debtor. transferred either absolutely or as security within two years immediately preceding the commencement of
this cuse. (Married debtors (ling under chapter (2 or chapter 13 must include translers by either or boll spouses
whether or not a joint petition is Filed. unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF TRANSPEREE, DESCRIBE PROPERTY
RELATIONSTUP PO DE ee PRANSTERRED AND
DATE VALUE RECEIVED

b. List all property transtered by the debtor within ten years immediately preceding the commencement of this ease
toa sell-setlled (rust ar similar deview of whieh the dehier isa beneficiary.

NAME OF TRUST OR OTHER DATS) OF AMOUNT OF MONEY OR DESCRIPTION
DEVIC IRANSPERESS AND VALUE OF PROPERTY OR DEBTOR'S
INTEREST ISN PROPERTY

Li. Closed financial accounts

List all finaneial accownls and instruments held in the name ef the debtor er for the benefit of the debtor which were
closed, sold. ar otherwise translerred within one year immedintely preceding the commencement of this case, Include
cheeking, savings. or other Financial accounts, certificates of deposit, ar other insiruments: shares aril share accounts
hele in banks. credit unions, pension funds. cooperatives, assaciations. brokerage houses and other financial
institutions, ¢Munvivd debtors (lime wader chapter [2 erchapter 13 must include information concerning accounts ar
instruments held by or for either or boll spouses wheller ar nel a jolt petition ts Med, unless the spouses are
separated umd a point petitions is ret filed

PYPE OF ACCOUNT, LAST POLIR AMOUNT AND
NAME AKT ADDRESS DGPS OF ACCOUNT NUMBER, DATE OF SALE
Ol ISS EPPLTPHON AND AMOUNT OF FINAL BALANCE OR CLOSING

north fork bank negalive $100
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12. Safe deposit boxes

List each safe deposit or other box or depository in which the debtor has or lad securities, cash. or other valuables
within ome year inmecdiniely preceding the commencement of this case. (Marricd debtors fling under chapter 12 or
chapter 13 must inchide boxes or depositories ofetther or both spouses whether or not a joint petition ts fled, unfess
the apouses are separated and a point petition is oot filed.)

NAME AND ADDRESS SAMES AND ADDRESSES DPSCRITFTION DATE OF TRANSFER
OF BANK OR Ob THOSE WITT ACCESS OF OR SURRENDER,
OFHER DEROSITORY TO BOS, OR DEPOSTPORY CONTENTS IF ANY

13. Setolls

List all setells made by any creditor. including a bank. against wdebtoor deposit al the debtor within 4 days preceding
the commencement of this case. (Married debtors filing under chapter [7 or chapter 13 must include information
concenting either or both spouses whether or net a joint petilion is fled. unless the spouses are separated and a joint
petition is mot filed.)

DATE OF AMOUNT
NAME AND ADDRESS OF CREDITOR SETOFE OF SE TOPE

I4. Property beld for anether person
List all property owned by anodher person that the debtor holds or controls.

NAME AND ADDRESS DESCRIPTION AND
OF OWNER VALUE OF PROPERTY LOCATION OF PROPERTY

15. Prior address of debtor

[uebtor hus mews within dhree years immediately preceding the commencement of this case. list all premises
which the debtor occupied curing that period and vacated prior to the commencement of this case. [Ca joint petition is
filed. report also any separate address of either spaase.

ADDRESS NAME USED DATES OF OCCUPANCY
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17. Environmental tatormation,

16, Spouses and Former Spouses

Ifthe dehtor resides or resided in a communily properly stale, commonwealth, or territory (including Alaska. Arizona.
California, dali. Louisiana, Nevada, New Meaieo, Puerto Rigo, Texas. Washington, or Wisconsin) within eight
years inunediately preceding Ube commencement ab ile cuse. ideneifs the rang al the debtor's spouse av of

any former spouse who resides or resickedd with ihe debtor in the community property stale.

MAME

For the purpose of this question, the following definitions apply:

"Envirenmental Law" means any federal. state, or local statute or regulation regulating pollution, contamination,
releases of havardous or ioxie substances, wastes or material inte the air, lana. soil surliee water. groundwater, ur
other medium. including. but met limiiel io. statutes or regulations regulating the cheanup ol these substances, wishes.
or material,

*Site” means any luculion, facility. or property as delined under any Environmental Law, whether or net presently or
formerly owned or operated by the debtor, including. but net fimited te, disposal sites.

"Hazardous Material" means anvihing defined as a havardous waste, havarlous substance. toxic substanec, haxardaus
material, pollutant. or contaminant or simikir term under an Environmental ba

 

a. List the name and address oC every site dor which the debtor has received olive in writing by a governmental
unit that itimay be Gable or potentially liable under or in violation of an Environmental Law, Indicate the
severimentol unit, Ube date of the moties. and. i known, the knvironinental Law:

STTE NAME NAME AND ADDRESS DATE OF ENVIRON MENTAL
AND ADDRESS CH OUVERNMENTAL UNIT NOTICE: LAW

b. List the name and address of every site for whieh the debier provided notice de a governmental unit ata release
of Haardous Material. Indicate the gevernmenial unit to which the notice was sent anal the date of the netice,

SITE NAME NAME ANT ADDRESS DATE OF ENVIRONMENTAL
AND ADDRIESS OF GOVERNMENTAL LNT NOTICH LAM

c. List all judicial or administrative proceedings, including seticments or orders, under any Environmental Law with
respect to which the debtor is or was a party. Indicate the mune and address of the governmental unit thal is or was a party
to the proceeding. and the ducket number,

NAME AND ADDRESS DOR ET NUMBER STAPLES OR
CH GOVERNMENTAL UNIT DISPOS TPL

18. Nature, location and name of business

a. ifthe dehver ix an individtet., list the names. addresses, daxpayer-ideatification numbers. nature of the businesses,
and beginning ond ending dates ofall businesses in whieh the debtor was an officer, director, partner, or managing

 

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exceulive ofa corporation, partner ina parinership. sole propriclor. or was sel [employed in a trade. profession, or
other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
whieh the debtor owned 3 pereent or mare af the voting or equity securities WiLhin Six Years immediately preceding
ihe commencement of this case,

ffihe defier ica purtershin, lish ln nanves. addresses, tanpascr-identification numbers, nawre of the businesses.
and beainning and endine dates ofall businesses in which the debtor was a parter or owned § percent or more of
the voting ar cyuily securities, within six years immediately preveding the commencement af this ease,

Ifthe debtor isa carpearcaticn, list the names, aldiresses, laxpayer-lentificalion mumbers. nature of the businesses.
and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
ihe voling or equity sceurilics wilhin six years immediately preceding the commencement of this ease.

LAST POUR DIGITS

OF SOCLAL-SECTIRITY BEGINNING AND
AML OR OTHER INDIVILAIAT, ADDRESS NATURE OF BUSINESS ENDING DATES

TASPAYER-LD. NO).

CIS COMPLI hIN

Regency Industries XX-XXXXXXX 400 NB, marble
Corp. Great Neck,
Necw bo Identify any business listed in response to subdivision a. above, nat is “single asset real estate” as
al defined in HELLS ICL 8 Te.
NAME ADDRESS

The following questions are to be completed by every debtor that is a corporation or partnership and by any individual
debtor whe is or has been. willin six years immediately preceding the commenocnient of this case. any ofthe following: an
officer. director. managing exceulive, or awner ol mere nan 3 percent of the voting or equity securities of a corporation; a
partner, other than a limites! partner, of u partnership. a sole proprigtor. or scl-employed ina trade. professiun. ar other activity.
elther Tulle or part-tinve.

ile individual er joint debian show? comptes iis pocnon of the statenuint anty if ie deitar is ar figs heer in

usiress, ce defined above, within six years inmediniely preceding the commcncencvet af ais case, fl debtor whe fos mat been
fo Susiness within these viv veors ahante ge clireorty fer die xtueetine: perp |

19. Books, records and financial statements

Nem: a. List all bookkeepers and accountants who within we vears immediately preceding the fling of this
bankruptcy case kept or supervised the keeping of books of account and records of the debter,

NAME AND ADDRESS DATES SERVICES RES DERED

Matte bo List all firms or individuals whe within two years immediately preceding the filing of this bankruptcy
case have audited the bagks of account and records. or prepared a financial statement of the debtor

NAME ADDRESS DATES SERVICES RENDERED
None co List all Firms or individuals whe al the tine of the commencement of this case were in possession of the

i books olf seceunt al records ofthe debtor. (any of the books of account anal records are not available. expla.
NAMIE ADDRESS

Nowe u. List all financial institulions. crediters and other parties, including mercantile and trade agencies, to whom a

financial statement wos issued by the debtor within bwe years immediately preceding Lhe commencement ol this case.

NAME AND ADDRESS DATE ISSUED

20, Inventories

None a. List the dates af the last hwo inventories tken al your property. the name of the person who snpervised the
vi taking of each iaventory. and the dollar amount and basis of wach inventory.

DOLLAR AMOUNT
OF INVENTORY

DATE OF INVENTORY INVENTORY SUPER VESOR (Specity cost, market or other
hasis}
Nine b. List the name und address of the person having possession of the records af each of the inventories reported
iv ina. above.

MAME AND ADDRESSES
OF CUSTODLAN
DATE OF INVENTORY OF INVENTORY RECORDS

21. Current Partners, (Mfeers, Directors and Shareholders

Noite a. Ute debtor isa partnership. list ihe nature and percentage of purtnership mtercst of cach member of the
Fa} partnership.
SAME AND ADDRESS NATURE OF INTEREST PERCENTAGE OF INTEREST
Nome bo Whe debtor isa corporation. Hist all oficers and directors ofthe corporation. and cach stockholder who
Fi directly or indirectly owns. controls, or holds 5 percent or more of the veting ar equily securities of the
Corp iO.

NATURE AND PERCENTAGE
NAME AND ADDEESS TITLE OF STOCK OWNERSTIP
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22. Former partners, officers, directors and shareholders

a. Ifthe debtor is a partnership, list each member who withdrew from the partnership within one year immediately
preceding the commencement al this case,

BLAME ABDRESS DAT OF WEE DRAWAL

bo the debtor is a corporation, list all alTieers or dircetors whose relationship with the corporation lerminated

within one year immediately preceding Ube commencement of this cose.

BARE AND ALR ES A TELE DATE OF TERMINATION

3. Withdrawals froma parinership or distributions by a corporation

Whe debtor is a partnership or comporution, list all withdrnwals or distributions eredited or given to an insider,
including compensation in any form, bornses. laas. stock redemplions. oplions exercised wand any other perquisite
Uuring one year immediately preceding the commencement of this case.

NAME & ADDRESS AMOLINT OF MONEY
OF RECIFIENT. DATE AND PURPOST OB DESCRIPTION
RELA TIONSETP TO DEBTOR OF WITHDRAWAL. ANT VALUE OF PROPERTY

 

crn

24. Tas Cansolidation Coroup.
Ihe debtor is a corporation, list the mame und federal taxpayer-identification number af the parent corporation of any
consolidated group for tax purposes of which the debtor has been a meniber atau inte within six years

tamecdiately preceding the commuencentent al the case.

NAME OF PARENT CORPORATHON PAXPAYER-LDENTIFICA TION NLIMBER (EIN)

 

25. Pension Fumes.
Wihe debior is not an individual, dist he name and federal bapaver-ideutilication number of any pension fumed to
which the debter. as an employer. has been responsible for contributing al any lime within six years immediately

preceding the commencement of the cuse

NAME OF PENSION FUND PANPAYER-IDEN TIFICATION NUMBER CEIN]
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(iPoemnpleted! Av cn inetivicteod er teclivieliee! aainl spease f

ldeelare ander penalty of perjury thot [howe read the answers contained inthe foregoing statement of financial affairs
and any attlachoents thercte ane thal they are trins and correct,

Stenauury
[abe Ly | (> of Debtor
7 #

Signature of
Jevint Debtor
Dyabe (iP ane}

 

 

 

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I declans under penal of peniure that | hare eead the answers contained inthe foregoing stiement of Gracia aflaers ane ary attachments
hereto and that they ane troe ard come tothe best ol ry kooewledies, olierimationt arn belied.

[ae Sipnanluine

 

 

[tit Miner anne
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[Anondiidial siaming om behalot a partnership or corporiticen ist inde position on rebitiomsip te else, |

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DECLARATION ASD SION ATE RE OF SOSA PRORNEY EASKRE POW

 

THOS PREPARE (See TE USo0. 8 ED

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compensation ami laws prwided the debtor with a-copy of this decom and the medtices and information required ander 71S, 88 Tb) EEN, and
Mab) and 3) iPriles or syidelines dave been premulented purseni to PES 8 PEO ty set a nisin Tee for seeviees chargeable by banknuplce
peliian peeparers, Fhave given the delor ieties of the maiimin eeeuil belo peopaniog any decuneent for Gling fora debtor or uecepieny, any fee thom
Ihe debtor, as pequuired ley Wat section

 

  

 

Pointed oe Typed Mane md Pike ane of hones Petition Poepearer Sochil-Sacurity Mo. CRequined by PES. § PI

Sho boieagitcr petals preparer es dat il

  

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SCapaisiide preva, oe partner alee cry Ales cdea, Resell,

   

Aol iiticas, aii sii cher aon nee alice, Praia

 

Sclelness

 

Shntbure of Banknplcy Petition Preparer Dhue

Names iid Soviul-Seomi mimibyrs of all aiher indieidisels sehes preparcd arassisted in preparing ties document unless the bankrapley petibian prepeer ts
not an individual

more than one person prepured dhis document, attach adkiitinnal signed sheets conforming to the appropriate Official Form for each person

A fon drapier petition preparer's failore te comply owith fre provisions af title €) aed ine Peeler Rates af BRowkoayvter Procedure mreny result in
Jines ae iinprisenerent or both, (EOLA & 158,
